      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 1 of 18




                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      District of Connecticut



                                                     Connecticut Financial Center     (203)821-3700
                                                     157 Church Street, 2511' Floor   Fax (203) 773-5376
                                                     New Haven, Connecticut 06510     www.justice.gov/usao/ct


                                                      September 12, 2018
Vadim A. Glozman
Attorney at Law
53 W. Jackson Blvd., Ste. 1410
Chicago, Illinois 60604

       Re:     United States v. Peter Yuryevich Levashov
               Case No. 3:17cr83 (RNC)

Dear Attorney Glozman:

       This letter confirms the plea agreement between your client, Peter Yuryevich Levashov,
aka "Petr Levashov," aka "Peter Severa," aka "Petr Severa," aka "Sergey Astakhov" (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government") in this criminal matter.

THE PLEA AND OFFENSE

        In consideration for the benefits offered under this agreement, Peter Yuryevich Levashov
agrees to plead guilty to Count One (charging him with intentional damage to a protected computer,
in violation of 18 U.S.C. §§ 1030(a)(5)(A) and (c)(4)(B), and 2), Count Two (charging him with
conspiracy, in violation of 18 U.S.C. § 371), Count Four (charging him with wire fraud, in violation
of 18 U.S.C. §§ 1343 and 2), and Count Eight (charging him with aggravated identity theft, in
violation of 18 U.S.C. §§ 1028A and 2) of the Indictment.

        The defendant understands that, to be guilty of each of these offenses, the following
essential elements must be satisfied:

COUNT ONE

       1.      The defendant knowingly caused the transmission of a program, infonnation, code,
               and command;

       2.      As a result of such conduct, the defendant intentionally caused damage to a
               protected computer without authorization; and
     Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 2 of 18


Vadim Glozman, Esq.
September 12, 2018
Page2

      3.     The damage affected 10 or more protected computers during any one-year period
             and the loss to one or more persons during any one-year period from the defendant's
             course of conduct affecting protected computers aggregated to at least $5,000 in
             value.

COUNT TWO

      I.     That on or about the dates charged in the Indictment, a conspiracy (that is, an
             agreement) existed to commit intentional damage to a protected computer,
             accessing protected computers in furtherance of fraud, and threatening to damage
             a protected computer;

      2.     That the defendant knowingly and intentionally became a member of that
             conspiracy;

      3.     That one of the members of the conspiracy knowingly committed at least one of the
             overt acts charged in the Indictment; and

      4.     That one or more of the overt acts were committed to further some objective ofthe
             consptracy.

COUNT FOUR

      1.    There was a scheme or artifice to defraud or to obtain money or property by
            materially false and fraudulent pretenses, representations, and promises, as alleged
            in the Indictment;

      2.    The defendant knowingly and willfully participated in the scheme or artifice to
            defraud, with knowledge of its fraudulent nature and with specific intent to defraud;
            and

      3.    In execution of that scheme, the defendant used or caused the use of a wire
            communication in the interstate or foreign commerce as charged in the Indictment.

COUNT EIGHT

      1.    On or about the date charged in the Indictment, the defendant knowingly
            transferred, possessed, and used a means of identification of another person;

      2.    The defendant did so without lawful authority; and

      3.    The defendant did so during and in relation to the felony violation of 18 U.S.C. §
            1030(a)(5)(A) as charged in Count One and the felony violation of 18 U.S.C. §
            1343 charged in Count Four.
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 3 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 3

THE PENALTIES

Count One

       Imprisonment

       Count One carries a maximum penalty of 10 years of imprisonment.

       Supervised Release

        In addition, the Court may impose a term of supervised release of not more than three years
to begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to two years per violation pursuant
to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

Count Two

       Imprisonment

       Count Two carries a maximum penalty of 5 years of imprisonment.

       Supervised Release

        In addition, the Court may impose a term of supervised release of not more than three years
to begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to two years per violation pursuant
to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

Count Four

       Imprisonment

       Count Four carries a maximum penalty of 20 years of imprisonment.

       Supervised Release

        In addition, the Court may impose a term of supervised release of not more than three years
to begin after any term of imprisonment. 18 U.S.C. § 3583.
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 4 of 18


Vadim Glozman, Esq.
September 12, 2018
Page4

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to two years per violation pursuant
to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

Count Eight

       Imprisonment

       Count Eight carries a mandatory term of imprisonment of two years, which must be
imposed to run consecutively to any other term of incarceration which has been or is imposed. 18
U.S.C. § 1028A(b).

       Supervised Release

        In addition, the Court may impose a term of supervised release of not more than one year
to begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to one year per violation pursuant
to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

Counts One, Two, Four, and Eight

       Supervised Release

       The Court must order the supervised release periods to run concurrently. Hence, the
defendant understands that the Court can only impose a maximum total effective term of
supervised release is 3 years.



        These offenses carry a maximum fine of $250,000. The defendant is also subject to the
alternative fine provision of 18 U.S.C. § 3571. Under this section, the maximum fine that may be
imposed on the defendant is the greatest of the following amounts: (1) twice the gross gain to the
defendant resulting from the offense; (2) twice the gross loss resulting from the offense; or (3)
$250,000.

       Special Assessment

        In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$100 on each count of conviction, which in this case totals $400. The defendant agrees to pay the
special assessment to the Clerk of the Court on the day the guilty plea is accepted.
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 5 of 18


Vadim Glozman, Esq
September 12, 2018
PageS

       Restitution

         In addition to the other penalties provided by law, the Court must also order that the
defendant make restitution under 18 U.S.C. § 3663A, and the Government reserves its right to seek
restitution on behalf of victims consistent with the provisions of§ 3663A. The scope and effect
ofthe order of restitution are set forth in the attached Rider Concerning Restitution. Restitution is
payable immediately unless otherwise ordered by the Court.

       Interest, penalties and fines

        Unless otherwise ordered, should the Court impose a fine or restitution of more than $2,500
as part of the sentence, interest will be charged on the unpaid balance of the fine or restitution not
paid within 15 days after the judgment date. 18 U.S.C. § 3612(±). Other penalties and fines may
be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C. § 3572(h), (i) and
§ 3612(g).

       Forfeiture

        Pursuant to 18 U.S.C. § 1030(i), 18 U.S.C. § 981(a)(l)(C), and 28 U.S.C. § 2461(c), and
based on his commission ofthe illegal acts of Count One (charging him with intentional damage to
a protected computer, in violation of 18 U.S.C. §§ 1030(a)(5)(A) and (c)(4)(B), and 2), Count Two
(charging him with conspiracy, in violation of 18 U.S.C. § 371), and Count Four (charging him
with wire fraud, in violation of 18 U.S.C. §§ 1343 and 2), the defendant agrees to forfeit all
interests in each of the following assets:

        (1) WebMoney Account associated with WebMoney Identifier ending in 4986;

         (2) The following items seized during a search executed at the time of the defendant's
arrest from an apartment in Barcelona, Spain, on or about April 7, 2017:

             a. One green with black-colored microchips solid-state drive, marked Samsung on
one side and grey and black plastic on the other side, removed by FBI personnel in conjunction
with the Spanish National Police ("SNP") from a black Sony laptop;

              b. One black 128GB Transcend SDXC memory card removed by FBI personnel
in conjunction with the SNP from a black Sony laptop;

              c.     One black Sony Xperia tablet with a cracked display and cracked back;

            d. One red 8GB SD Ultra Card memory card (serial number 41060L2TCOWO),
removed from the black Sony Xperia tablet;

              e.        One black and silver Apple watch (serial number FHLPKUTXG9J8);

              f.        One silver Apple iPhone (IMEI number 356951 064aa2936);
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 6 of 18


Vadim Glozman, Esq.
September 12, 2018
Page6


              g.       One black Dell computer mouse (serial number G16004B9);

              h.       One white WiFi 4G device; and

              i.       One black 16GB Sony thumb drive with the marking "USM16W" on its
face; and

        (3) A sum of money equal to the total amount of money, real or personal, which constitutes
or is derived from proceeds traceable to Counts One, Two and Four.

       The defendant acknowledges that the above-listed assets are subject to forfeiture as
proceeds of illegal conduct and/or property facilitating illegal conduct giving rise to forfeiture.
The defendant further warrants that he is the sole and true owner of the WebMoney account
referenced herein.

       The defendant further agrees that he shall not, directly or indirectly, sell, assign, transfer,
convey, donate, convert, pledge, encumber, collateralize, liquidate, fail to conduct ordinary
maintenance of, diminish the value of, or otherwise dispose of, the property listed above.

        The defendant agrees to waive all interests in each of the assets listed above (hereinafter,
the "forfeitable assets"), in any administrative or judicial forfeiture proceeding, whether criminal
or civil, state or federal. The defendant agrees to consent to the entry of orders of forfeiture for
each ofthe forfeitable assets, and waives the requirements ofFederal Rules of Criminal Procedure
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment. The defendant
acknowledges that he understands that the forfeiture of assets is part of the sentence that may be
imposed in this case and waives any failure by the Court to advise him of this, pursuant to Federal
Rule of Criminal Procedure 11 (b)(I )(J), at the time his guilty plea is accepted.

        The defendant agrees to take all steps as requested by the United States to pass clear title
to all of the forfeitable assets to the United States, to share truthful information with agents and
representatives of the United States about any facts and claims concerning the assets, and to testify
truthfully in any judicial forfeiture proceeding.

        The defendant agrees to hold the United States, its agents and employees harmless from
any claims whatsoever in connection with the seizure or forfeiture of the above-listed assets
covered by this agreement. The defendant further agrees to waive all constitutional and statutory
challenges in any manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this plea agreement on any grounds, including that the
forfeiture constitutes an excessive fine or punishment. The defendant also understands and agrees
that by virtue of his plea of guilty he waives any rights or cause of action to claim that he is a
"substantially prevailing party" for the purpose of recovery of attorney fees and other litigation
costs in any related forfeiture proceeding pursuant to 28 U.S.C. § 2465(b)(l).
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 7 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 7

THE SENTENCING GUIDELINES

       Applicability

        The defendant understands that the Court is required to consider any applicable Sentencing
Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an appropriate
sentence in this case and is not bound by this plea agreement. The defendant agrees that the
Sentencing Guideline determinations will be made by the Court, by a preponderance of the
evidence, based upon input from the defendant, the Government, and the United States Probation
Office. The defendant further understands that he has no right to withdraw his guilty plea if his
sentence or the Guideline application is other than he anticipated, including if the sentence is
outside any ofthe ranges set forth in this agreement.

       Acceptance of Responsibility

        At this time, the Government agrees to recommend that the Court reduce by two levels the
defendant's adjusted offense level under § 3E1.1(a) of the Sentencing Guidelines, based on the
defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under § 3E1.1(a) and his offense
level determined prior to the operation of subsection (a) is level 16 or greater, the Government will
file a motion with the Court pursuant to § 3E1.1(b) which recommends that the Court reduce the
defendant's Adjusted Offense Level by one additional level based on his prompt notification of
his intention to enter a plea of guilty. The defendant understands that the Court is not obligated to
accept the Government's recommendations on the reductions.

        The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration of acceptance of responsibility, by ( 1) truthfully admitting the conduct comprising
the offense(s) of conviction and truthfully admitting or not falsely denying any additional relevant
conduct for which the defendant is accountable under § 1B 1.3 of the Sentencing Guidelines, and
(2) truthfully disclosing to the United States Attorney's Office and the United States Probation
Office personal information requested, including the submission of a complete and truthful
financial statement detailing the defendant's financial condition. The defendant expressly
authorizes the United States Attorney's Office to obtain a credit report concerning the defendant.

         In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility ifthe defendant engages in any acts, unknown to the Government
at the time of the signing of this agreement, which (1) indicate that the defendant has not terminated
or withdrawn from criminal conduct or associations(§ 3E1.1 of the Sentencing Guidelines); (2)
could provide a basis for an adjustment for obstructing or impeding the administration of justice
(§ 3C 1.1 of the Sentencing Guidelines); or (3) constitute a violation of any condition of release.
Moreover, the Government reserves the right to seek denial of the adjustment for acceptance of
responsibility if the defendant seeks to withdraw his guilty plea or takes a position at sentencing,
or otherwise, which, in the Government's assessment, is inconsistent with affirmative acceptance
of personal responsibility. The defendant understands that he may not withdraw his plea of guilty
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 8 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 8

if, for the reasons explained above, the Government does not make one or both of the
recommendations or seeks denial ofthe adjustment for acceptance of responsibility.

       Stipulation

         Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government have
entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defendant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional relevant
facts that subsequently come to their attention.

       Guideline Partial Stipulation

       The parties agree as follows:

       The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range. The counts of conviction are grouped together into a single Group
pursuant to U.S.S.G. § 3D1.2(d).

       The defendant's guideline calculation is as follows:

       Base offense level pursuant to U.S.S.G. § 2B 1.1 (a)(l)                                   7
t,oss o1
       Gain of more than $3,500,000 pursuant to U.S.S.G. § 2Bl.l(b)(1)(J)
          and advisory note 3(B)                                                              +18

       Ten or more victims pursuant to U.S.S.G § 2B1.1(b)(2)(A)                                 +2

       Section 1030(a)(5)(A) is crime of conviction pursuant to
          U.S.S.G. § 2B 1.1 (b )(18)(A)(ii)                                                     +4

       Acceptance of responsibility pursuant to U.S.S.G. § 3El.l                                -3

       The government further contends that the following enhancements apply:

       Substantial part of fraud committed outside U.S. and sophisticated means
          pursuant to U.S.S.G. § 2Bl.1(b)(10)(B) and (C)                                        +2

       Use of a special skill that significantly facilitated the commission or
          concealment ofthe offenses pursuant to U.S.S.G. § 3Bl.3                               +2
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 9 of 18


Vadim Glozman, Esq.
September 12, 2018
Page9

        The defendant does not contest the factual basis for these enhancements, but reserves his
right to argue and will argue that these enhancements are not legally applicable and would result
in a greater than necessary sentence.

       Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
Category and corresponding sentencing ranges if this initial assessment proves inaccurate.

        The defendant's guideline calculation (adjusted offense level of 28 assuming a Criminal
History Category I) would result in a range of78 to 97 months of imprisonment (sentencing table).
In addition, the defendant has pleaded guilty to Count Eight, charging a violation of Title 18,
United States Code, Section 1028A. See U.S.S.G. § 2Bl.6. The penalty for this offense is 24
months to be imposed to run consecutively to any other term of imprisonment imposed. Hence,
the fully adjusted range would be 102 to 121, and a fine range of $25,000 to $250,000, U.S.S.G.
§ 5E1.2(c)(3).

        The government's guideline calculation (adjusted offense level of32 assuming a Criminal
History Category I) would result in a range of 121 to 151 months of imprisonment (sentencing
table). In addition, the defendant has pleaded guilty to Count Eight, charging a violation of
Title 18, United States Code, Section 1028A. See U.S.S.G. § 2B 1.6. The penalty for this offense
is 24 months to be imposed to run consecutively to any other term of imprisonment imposed.
Hence, the fully adjusted range would be 145 to 175 months in prison and a fine range of$35,000
to $350,000, U.S.S.G. § 5El.2(c)(3).

        Under either calculation, the defendant is also subject to a supervised release term of one
to three years. U.S.S.G. § 5D1.2. The defendant further expressly understands that the Court
may not in any way reduce the term to be imposed on the other counts of conviction so as to
compensate for, or otherwise take into account, any separate term of imprisonment imposed
for the conviction under 18 U.S.C. § 1028A.

       The Government and the defendant reserve their rights to seek a departure or a non-
Guidelines sentence, and both sides reserve their right to object to a departure or a non-Guidelines
sentence. Nor will either party suggest that the Probation Department consider a departure or
adjustment not set forth herein, or suggest that the Court on its own consider a departure or
adjustment not identified above.

       The defendant understands that the Court is not bound by this agreement on the Guideline
ranges specified above. The defendant further understands that he will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in this
agreement.

        In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 10 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 10

calculations. Moreover, the parties reserve the right to defend any sentencing determination, even
if it differs from that stipulated by the parties, in any post-sentencing proceeding.

        Information to the Court

          The Government reserves its right to address the Court with respect to an appropriate
sentence to be imposed in this case. Moreover, the Government will discuss the facts of this case,
including information regarding the defendant's background and character, 18 U.S.C. § 3661, with
the United States Probation Office and will provide the Probation Officer with access to material
in its file, with the exception of grand jury material.

WAIVER OF RIGHTS

       The defendant acknowledges and agrees that he is knowingly, intelligently, and voluntarily
waiving the following rights:

        Waiver of Trial Rights and Consequences of Guilty Plea

       The defendant understands that he has the right to be represented by an attorney at every
stage ofthe proceeding and, if necessary, one will be appointed to represent him.

         The defendant understands that he has the right to plead not guilty or to persist in that plea
if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in his defense. The defendant understands that by
pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court, there
will not be a further trial of any kind.

       The defendant understands that, if he pleads guilty, the Court may ask him questions about
each offense to which he pleads guilty, and if he answers those questions falsely under oath, on
the record, and in the presence of counsel, his answers may later be used against him in a
prosecution for perjury or making false statements.

        Waiver of Statute of Limitations

        The defendant agrees that, should the conviction following defendant's guilty plea be
vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement of
such prosecution. The defendant agrees to waive all defenses based on the statute of limitations
with respect to any prosecution that is not time-barred on the date the plea agreement is signed.
     Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 11 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 11

        Waiver of Right to Challenge Conviction

         The defendant acknowledges that under certain circumstances he is entitled to challenge
his conviction. By pleading guilty, the defendant waives his right to appeal or collaterally attack
his conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255
and/or § 2241. In addition to any other claims he might raise, the defendant waives his right to
challenge his conviction based on (1) any non-jurisdictional defects in the proceedings before entry
of this plea, (2) a claim that the statute(s) to which the defendant is pleading guilty is
unconstitutional, and (3) a claim that the admitted conduct does not fall within the scope of the
statute. This waiver does not preclude the defendant from raising a claim of ineffective assistance
of counsel in an appropriate forum.

        Waiver of Right to Appeal or Collaterally Attack Sentence

        The defendant acknowledges that under certain circumstances, he is entitled to challenge
his sentence. In consideration for the benefits offered under this agreement, the defendant agrees
not to appeal or collaterally attack the sentence in any proceeding, including but not limited to a
motion under 28 U.S.C. § 2255 and/or § 2241 if that sentence does not exceed 175 months of
imprisonment, a three-year term of supervised release, a $400 special assessment, $4 million fine,
$1 million in restitution, or forfeiture of the assets described on page five above, even if the Court
imposes such a sentence based on an analysis different from that specified above. The Government
and the defendant agree that this waiver applies regardless ofwhether the term of imprisonment is
imposed to run consecutively to or concurrently with, in whole or in part, the undischarged portion
of any other sentence that has been imposed on the defendant at the time of sentencing in this case.
Furthermore, the parties agree that any challenge to the defendant's sentence that is not foreclosed
by this provision will be limited to that portion of the sentencing calculation that is inconsistent
with (or not addressed by) this waiver. This waiver does not preclude the defendant from raising a
claim of ineffective assistance of counsel in an appropriate forum.

        Waiver of Challenge to Plea Based on Immigration Consequences

        The defendant understands that pleading guilty may have consequences with respect to his
immigration status if he is not a citizen ofthe United States. Under federal law, non-citizens are
subject to removal for a broad range of crimes, including the offense(s) to which the defendant is
pleading guilty. Indeed, because the defendant is pleading guilty to computer and wire fraud
charges, removal is presumptively mandatory. Likewise, if the defendant is a naturalized citizen
of the United States, pleading guilty may result in denaturalization and removal. Removal,
denaturalization, and other immigration consequences are the subject of a separate proceeding,
however, and the defendant understands that no one, including his attorney or the district court,
can predict to a certainty the effect of his conviction on his immigration status. The defendant
nevertheless affirms that he wants to plead guilty regardless of any immigration consequences that
his plea may entail, even if the consequence is automatic removal from the United States.

       The defendant understands that he is bound by his guilty plea regardless of the immigration
consequences ofthe plea and regardless of any advice the defendant has received from his counsel
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 12 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 12

or others regarding those consequences. Accordingly, the defendant waives any and all challenges
to his guilty plea and to his sentence based on those consequences, and agrees not to seek to
withdraw his guilty plea, or to file a direct appeal or any kind of collateral attack challenging his
guilty plea, conviction or sentence, based on the immigration consequences of his guilty plea,
conviction or sentence.

        Waiver of Right to Discovery

        The defendant hereby acknowledges that he has accepted this agreement and decided to
plead guilty because he is in fact guilty. By entering this plea of guilty, the defendant waives any
and all right to withdraw his plea or to attack his conviction, either on direct appeal or collaterally,
on the ground that the Government has failed to produce any discovery material, Jencks Act                 ,,.. other
material, exculpatory material pursuant to Brady v. Maryland, 373 U.S. 83 (1963), ai:bN' tlisri            Words
information establishing the factual innocence of the defendant, or impeachment material pur uant                  I


to Giglio v. United States, 405 U.S. 150 (1972), that has not already been produced as ofthe date
ofthe signing of this agreement.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

         The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because he is guilty. The defendant further acknowledges that he is entering
into this agreement without reliance upon any discussions between the Government and him (other
than those described in the plea agreement letter), without promise of benefit of any kind (other
than the concessions contained in the plea agreement letter), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges his understanding of
the nature of the offense to which he is pleading guilty, including the penalties provided by law.
The defendant also acknowledges his complete satisfaction with the representation and advice
received from his undersigned attorney. The defendant and his undersigned counsel are unaware
of any conflict of interest concerning counsel's representation of the defendant in the case.

       The defendant acknowledges that he is not a "prevailing party" within the meaning of
Public Law 105-119, section 617 ("the Hyde Amendment") with respect to the count of conviction
or any other count or charge that may be dismissed pursuant to this agreement. The defendant
voluntarily, knowingly, and intelligently waives any rights he may have to seek attorney's fees
and other litigation expenses under the Hyde Amendment.

SCOPE OF THE AGREEMENT

        The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving him.
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 13 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 13


COLLATERAL CONSEQUENCES

        The defendant understands that he will be adjudicated guilty of each offense to which he
has pleaded guilty and will be deprived of certain rights, such as the right to hold public office, to
serve on a jury, to possess firearms and ammunition, and in some states, the right to vote. Further,
the defendant understands that if he is not a citizen of the United States, a plea of guilty may result
in removal from the United States, denial of citizenship, and denial of admission to the United
States in the future. The defendant understands that pursuant to section 203(b) of the Justice For
All Act, the Federal Bureau of Prisons or the United States Probation Office will collect a DNA
sample from the defendant for analysis and indexing. Finally, the defendant understands that the
Government reserves the right to notify any state or federal agency by which he is licensed, or
with which he does business, as well as any current or future employer of the fact ofhis conviction.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of his participation in the creation,
distribution, and operation of the Kelihos botnet, which forms the basis of the Indictment in this
case. After sentencing, the Government will move to dismiss the remaining counts of the
indictment because the conduct underlying the dismissed counts will have been taken into account
in determining the appropriate sentence.

        The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the Government
may void all or part of this agreement. If the agreement is voided in whole or in part, the defendant
will not be permitted to withdraw his guilty plea.
     Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 14 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 14

NO OTHER PROMISES

         The defendant acknowledges that no other promises, agreements, or conditions have been
entered into other than those set forth in this plea agreement, and none will be entered into unless
set forth in writing, signed by all the parties.

       This letter shall be presented to the Court, in open court, and filed in this case.

                            Very truly yours,

JOHN H. DURHAM
 NJ rEiD STATES AT

                                                      DA:?r~
                                                      ASSISTANT UNITED STATES
                                                      ATT R ·Y



                                                         ·lONY TEELU I"
                                                     SENIOR COUNSEL
                                                     DEPARTMENT OF·JUSTICE
                                                     COMPUTER CRIMES & INTELLECTUAL
                                                     PROPERTY SECTION

        The defendant certifies that he has read this plea agreement letter and its attachment(s) or
has had it read or translated to him, that he has had ample time to discuss this agreement and its
attaclunent )..i7with counsel and l~ai he fully understands and accepts its terms.

           vU-                                          3-     I 2- - /S
                                                      Date
      Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 15 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 15

                   TIPULATION OF OFFENSE AND RELE                           NT CONDU T

        The defendant and the Government stipulate to the following offense and relevant conduct
that gives rise to the defendant's agreement to plead guilty to Counts One, Two, Four, and Eight
of the Indictment:

        Since the late 1990s until his arrest on April7, 2017, the defendant Peter Levashov operated
botnets 1 under various aliases, most notably "Peter Severa". His botnets, which included the
Storm, Waledac, and Kelihos botnets, (a) harvested personal information and means of
identification (including email addresses, usemames and logins, and passwords) from infected
computers; (2) disseminated spam; and (3) distributed malware, including Trojans and
ransomware. Over the course of his criminal career, Levashov participated in and moderated
various online criminal forums on which stolen identities and credit cards, malware, and other
criminal tools of cybercrime were traded and sold. In so doing, Levashov used, among other online
identifiers, ICQ number I 04967, jabber@honese.com, and peter@severa.biz to chat or
communicate with others online.

        Levashov controlled and operated the Kelihos botnet through "command and control
servers", which enabled Levashov to issue commands to any and all computers infected with the
Kelihos malware. He operated the Kelihos botnet through, among other means, a virtual private
network ("VPN") connection/proxy, multiple servers distributed among multiple countries, and
the servers known as "bulletproof hosts". 2

        In so doing, Levashov advertised his botnet's services on various on-line forums and
customers would knowingly pay him to distribute spam and other malware, including ransomware.
Levashov also recruited and paid affiliates to disseminate the Kelihos botnet by infecting protected
computers. Levashov and his co-conspirators knew that the Kelihos botnet would, among other
things, access infected computers to harvest thousands of credentials that were then used by the
botnet to send spam. Among the spam that Levashov sent through the Kelihos botnet was spam
containing links to websites that would infect the computer with ransomware. Levashov
monitored the stability and efficacy of the Kelihos botnet through an on-line "dashboard".

        In furtherance ofthe conspiracy and to affect the objects of the conspiracy, Levashov and
his co-conspirators committed and caused to be committed the following overt acts, among others,
in the District of Connecticut and elsewhere:

        a.       On March 2, 2016, Levashov sent an email from peter@severa.biz to a customer
                 stating that "mailing costs 500 usd per 1 mil emails, 750 us=d per 2mil, lk per
                 3mil."

1
  A "botnet" is a network of private computers infected and damaged with malicious software and controlled as a
group without the owners' knowledge to commit online crimes, e.g., to send spam messages or collect personal
information from the infected computer.
2
  A "bulletproof host" is a company that rents online servers located in foreign countries which often do not have
criminal laws on cybercrime or effective cooperation with U.S. law enforcement. These companies will frequently
ignore complaints about or legal process issued to them for customers suspected of criminal conduct.
     Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 16 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 16


       b.      From May 5, 2016 to May 9, 2016, Levashov accessed a WebMoney Account
               associated with WebMoney identifier ending in 4986. Within this account was a
               WebMoney purse, ending in 1018, into which his clients deposited payments for
               his criminal services. Levashov has, on occasion, accessed this account from a
               computer with the Internet Protocol ("IP") address 91.122.62.16, which was the IP
               address assigned to the defendant's horne WiFi service.

       c.      On September 22, 2016, Levashov disseminated the JokeFrornMars ransornware
               via the Kelihos botnet to more than 10 computers.

       d.      From October 1, 2016 until December 8, 2016, Levashov accessed a computer
               server with an IP address of 85.17 .31.90, which was the IP address assigned to his
               VPN.

       e.      On December 15, 2016, Kelihos harvested credentials from a File Transfer Protocol
               (i.e. an Internet service which is used to transfer files from one computer to another)
               client from a computer in Connecticut.

       f.      On March 21, 2017, Levashov instructed a customer for a sparn campaign to pay
               him by bitcoin and stated that he charged $300 per 1 million ernails, but more for
               phishing and other scams.

       Some of the sparn that Levashov distributed contained advertisements in furtherance of
"pump and dump" schemes, which sought to boost the price of various stocks through
recommendations based on false statements. For example, on March 22, 2017, for the purpose of
executing and attempting to execute a pump and dump scheme and with the intent to defraud,
Levashov caused a wire to be sent via a chat platform from outside of Connecticut to an individual
in Connecticut.

       On or about July 15,2016, during and in relation to the intentional damage to a protected
computer charged in Count One and the wire fraud charged in Count Four, Levashov possessed
and used the email address/usernarne and password of a real person, Victim S.B., who resided in
Connecticut, in order to send spam as part of the Kelihos botnet. Victim S.B. did not authorize
Levashov's use of her email address and password.

        The computers infected as part of any and all criminal activity associated with the Kelihos
botnet were used in and affecting interstate and foreign commerce and communication. Levashov
and his co-conspirators did not seek, nor were they given, permission to install the Kelihos botnet
on victims' computers or to use the victims' computers as part of the Kelihos botnet. At the time
of Levashov' s arrest, Kelihos infected at least 50,000 computers. The parties stipulate and agree
that it would cost as much $149 per computer to remove the Kelihos virus from each infected
computer. The defendant also agrees that the unlawful gain from the criminal conduct described
above exceeds $3.5 million.
     Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 17 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 17

       This written stipulation is part of the plea agreement. The defendant and the Government
reserve their right to present additional offense conduct and relevant conduct to the Court in
connection with sentencing.


                                                                                   p . )

                                                   ASSISTANT U.S. ATTORNEY


                                                   DAVID T. HUANG )/
                                                   ASSISTANT U.S. ATTORNEY




                                                    NTI    N TEEL CJ
                                                   SENIOR COUNSEL
                                                   DEPARTMENT OF JUSTICE
                                                   COMPUTER CRIMES & INTELLECTUAL
                                                   PROPERTY SECTION
       Case 3:17-cr-00083-RNC Document 112 Filed 09/12/18 Page 18 of 18


Vadim Glozman, Esq.
September 12, 2018
Page 18

                            RIDER CONCERNING RESTITUTION

       The Court shall order that the defendant make restitution under 18 U.S.C. § 3663A as
follows:

1. If the offense resulted in damage to or loss or destruction of property of a victim of the offense:

  A.    Return the property to the owner of the property or someone designated by the owner; or

  B.    If return of the property is impossible, impracticable, or inadequate, pay an amount equal
        to:

        The greater of -
        (I) the value of the property on the date of the damage, loss, or destruction; or

        (II) the value of the property on the date of sentencing, less the value as of the date the
             property is returned.

2. In the case of an offense resulting in bodily injury to a victim-

   A. Pay an amount equal to the costs of necessary medical and related professional services
      and devices related to physical, psychiatric, and psychological care; including non-medical
      care and treatment rendered in accordance with a method of healing recognized by the law
      of the place of treatment;

   B. Pay an amount equal to the cost of necessary physical and occupational therapy and
      rehabilitation; and

    C. Reimburse the victim for income lost by such victim as a result of such offense;

3. In the case of an offense resulting in bodily injury that results in the death of the victim, pay
   an amount equal to the cost of necessary funeral and related services; and

4. In any case, reimburse the victim for lost income and necessary child care, transportation, and
   other expenses incurred during participation in the investigation or prosecution of the offense
   or attendance at proceedings related to the offense.

        The order of restitution has the effect of a civil judgment against the defendant. In addition
to the Court-ordered restitution, the Court may order that the conditions of its order of restitution
be made a condition of probation or supervised release. Failure to make restitution as ordered may
result in a revocation of probation, 18 U.S.C. § 3565, or a modification of the conditions of
supervised release, 18 U.S.C. § 3583(e). Failure to pay restitution may also result in the defendant
being held in contempt, or the defendant's re-sentencing to any sentence which might originally
have been imposed by the Court. See 18 U.S.C. §§ 3613A, 3614. The Court may also order that
the defendant give notice to any victim(s) of his offense under 18 U.S.C. § 3555.
